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                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF CONNECTICUT



                                                           :     CHAPTER 11
In re:                                                     :
                                                           :
HO WAN KWOK,                                               :     Case No. 22-50073(JAM)
                               Debtor.                     :
                                                           :

               PROPOSED ORDER GRANTING MOTION FOR AN ORDER
               ADMITTING CAROLLYNN H.G. CALLARI PRO HAC VICE

         AND NOW, upon consideration of the Motion of Kristin B. Mayhew for an Order

Admitting Carollyn H.G. Callari Pro Hac Vice (the “Motion”), and any and all responses

thereto, it is hereby

         ORDERED that the Motion is GRANTED, that Carollynn H.G. Callari is admitted pro

hac vice, and it is further

         ORDERED that Kristin B. Mayhew will receive service on behalf of Ms. Callari in

accordance with D. Conn. L. Civ. R. 83.1(c), as incorporated by D. Conn. LBR 9083-3.




                                                    ___________________________
                                                    The Honorable Julie A. Manning
                                                    Chief United States Bankruptcy Judge




KBM/234446/0002/1818457v1
03/15/22-HRT/KBM
